CIS&S€B€¢)S€C-\GO~UBR-WWT [JDOUm'BBhTS Fi!ed 10134.9‘21§1)8|°3§%§601 bf 2

UNITEI) sTATES immich COURT
FOR THE msch 0F MAR¥LAND

Southern Dlvision
IBILOLA ABODERIN * ""` `
Plaintiff *

§-

v. Ci.vil Action No.: 08-CV-01289-RWT

TORIN ANDREWS, et al. *

D:zfendant$ "
=k # =I= ne * se * » n= =k *

STIPULATION OF DISMISSAL OF ALL CLAIMS WITH PREJUDICE

 

A]l parties in the captioned case, by undersigned counsel, stipulate and agree that all
claims in the captioned case are hereby DISMISSED WITH PREJUDICE.

Respectfully submitte

 

__-~"

charles Maninez, Esquire, Bar No.: 01079
Terri L. Goldberg, Esquire, Bar No.: 09698
ECCLESTON AND WOLF, P. C.

729 E. Pratt Street, 7th Floor

Baltimore, MD 21202-4460

(410:} 752-7474

.»<! ttorr'eys for Defendants 'l__

sF.ZQ/w.lf/

Bemard T. Kennedy, Esquire
Bernard T. Kennedy & Associates
207 Miles River Court

Odenton, MD 21113

Attorneys for Plaintl'j?"

  
 

J:\BZSOZ\PLEAD\ST|PD|S.DQC

lo-Q_’?-c)<£

